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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION



RESTORE ROBOTICS LLC and
RESTORE ROBOTICS REPAIRS
LLC,
                                             Civil Case No. 5:19-cv-00055-MCR-MJF
                           Plaintiffs,

      v.
INTUITIVE SURGICAL, INC.,

                         Defendant.


             PLAINTIFFS RESTORE ROBOTICS LLC AND
           RESTORE ROBOTICS REPAIRS LLC’S ANSWER TO
             DEFENDANT’S AMENDED COUNTERCLAIMS

       Pursuant to Fed. R. Civ. Proc. 12(a)(1)(B) and (4)(B), Plaintiffs Restore

Robotics LLC and Restore Robotics Repair LLC (“Restore” collectively) hereby file

their Answer to Defendant’s Counterclaims [49]. Plaintiffs generally deny all the

allegations except those specifically admitted in the paragraphs below.

                               INTRODUCTION

      1.    Denied.

      2.    Restore admits that Intuitive markets the da Vinci Surgical System and

associated instruments and accessories. Restore admits that Intuitive has received

clearance from the United States Food and Drug Administration to market and sell

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the da Vinci Surgical System in the United States. Restore admits that Intuitive

prohibits customers by contract from modifying, disassembling, reverse

engineering, or altering the da Vinci Surgical System or its instruments or

accessories. Restore admits that Intuitive limits its obligations to provide service on

the da Vinci Surgical System to customers by contract where installation, repair, or

adjustments have been made by the customer or a third party without approval from

Intuitive. Restore admits that Intuitive prohibits at least some customers by contract

from repairing, refurbishing, or reconditioning their instruments without approval

from Intuitive. Restore otherwise lacks knowledge or information sufficient to form

a belief about the truth of the allegations in Paragraph 2.

      3.     Restore admits that it has built up a business by acting in a manner that

suggests it is qualified to service da Vinci surgical devices. Restore admits that it

acts in a manner to suggest that it is qualified to provide products and services related

to Intuitive systems and instruments and able to save customers money by servicing

the customers’ Intuitive systems and instruments. Restore denies the remainder of

the allegations in Paragraph 3.

      4.     Denied.

      5.     Restore admits that it returns serviced EndoWrist instruments to

customers with the Intuitive trademark “da Vinci S.” Restore denies the remainder

of the allegations in Paragraph 5.
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      6.     Denied.

      7.     Restore admits that the FDA issued guidance on deciding when to

submit a 510(k) software change to an existing device on October 25, 2017 and that

Restore knew about this guidance. Restore denies the remainder of the allegations

in Paragraph 7.

      8.     Restore admits that customers who rely on Restore’s statements and

actions when assessing their own liability risks would reasonably expect Restore to

have applied FDA’s guidance or conducted another proper analysis before telling

customers that no such clearance was necessary. Restore denies the remainder of

the allegations in Paragraph 8.

      9.     Denied.

      10.    Denied.

                                    PARTIES

      11.    Admitted.

      12.    Admitted.


                         JURISDICTION AND VENUE

      13.    Admitted.

      14.    Admitted.




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                          GENERAL ALLEGATIONS

I.    Restore lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Section Heading I.

      15.    Restore lacks knowledge or information sufficient to form a belief

about the truth of the allegations that Intuitive designs or manufactures da Vinci

Surgical Systems. Restore admits the remainder of the allegations in Paragraph 15.

      16.    Admitted.

      17.    Restore lacks knowledge or information sufficient to form a belief

about the truth of the allegations that Intuitive manufactures the instruments and

accessories customized for use with da Vinci Surgical Systems. Restore admits the

remainder of the allegations in Paragraph 17.

      18.    Restore lacks knowledge or information sufficient to form a belief

about the truth of the allegations that most surgical instruments are designed to be

reused for a defined number of procedures to ensure that they meet exacting

performance specifications. Restore admits the remainder of the allegations in

Paragraph 18.

      19.    Restore lacks knowledge or information sufficient to form a belief

about the truth of the allegations in Paragraph 19.

      20.    Restore lacks knowledge or information sufficient to form a belief

about the truth of the allegations in Paragraph 20.
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II.    Restore lacks knowledge or information sufficient to form a belief about

the truth of the allegations in Section Heading II.

       21.   Restore lacks knowledge or information sufficient to form a belief

about the truth of the allegations in Paragraph 21.

       22.   Admitted.

       23.   Restore lacks knowledge or information sufficient to form a belief

about the truth of the allegations that all of Intuitive’s current products are Class II

medical devices. Restore admits the remainder of the allegations in Paragraph 23.

       24.   Admitted.

       25.   Admitted.

       26.   Admitted.

       27.   Admitted.

       28.   Admitted.

       29.   Restore denies that remanufacturing includes the service or repair of

medical devices that does not significantly change the device’s performance or

safety specifications, or its intended use. Restore denies that remanufacturing

includes re-setting an instrument’s counter for further uses of the device beyond its

original design and placing it back in service with the customer. Restore admits the

remainder of the allegations in Paragraph 29.



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        30.   Restore lacks knowledge or information sufficient to form a belief

about the truth of the allegations in Paragraph 30.

        31.   Restore admits that the 510(k) submitted to the FDA on March 28, 2014

lists 24 instruments and 12 accessories for the da Vinci Xi and states that the

instruments are “reusable” and “programmable with a maximum number of surgical

procedures based on life testing. Restore denies the remainder of the allegations in

Paragraph 31.

        32.   Restore lacks knowledge or information sufficient to form a belief

about the truth of the allegations in Paragraph 32.

III.    Restore admits that Intuitive offers maintenance services and

replacement of instruments and accessories to its customers. Restore denies the

remainder of the allegations in Section Heading III.

        33.   Restore admits that Intuitive has a network of field service engineers.

Restore admits that Intuitive maintains relationships with various distributors.

Restore admits that Intuitive offers services for customers, including installation,

repair, and maintenance. Restore lacks knowledge or information sufficient to form

a belief about the truth of the remainder of the allegations in Paragraph 33.

        34.   Restore admits that hospitals purchase replacement instruments and

accessories. Restore admits that Intuitive offers maintenance services for the da



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Vinci Surgical System. Restore lacks knowledge or information sufficient to form

a belief about the truth of the remainder of the allegations in Paragraph 34.

IV.    Denied.

       35.   Denied.

       A.    Denied.

       36.   Restore admits that Restore services da Vinci Surgical Systems and

EndoWrist instruments and that Restore’s technicians are qualified to perform

service on Intuitive devices. Restore denies the remainder of the allegations in

Paragraph 36.

       37.   Restore admits that its website has included statements that it “can

provide routine preventative maintenance programs and spot repairs on your surgical

robots” and that the preventative maintenance diagnostic testing is a full spectrum

review of the da Vinci robotics functionality.” Restore denies the remainder of the

allegations in Paragraph 37.

       38.   Restore admits Exhibit 2 was created by Restore. Restore denies the

remainder of the allegations in Paragraph 38.

       B.    Denied.

       39.   Restore admits that Exhibit 1 was created by Restore and includes

statements that it “has more than 2 years of history with repairing EndoWrist

instruments with well over 1500 repairs resulting in No adverse events and No
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communications issues between the repaired instrument and the Da Vinci system.”

Restore denies the remainder of the allegations in Paragraph 39.

      40.    Restore admits that it has referred to the da Vinci Surgical System and

included photographs of da Vinci Surgical Systems on its website. Restore admits

that it has stated on its website that the da Vinci Surgical System is marketed by

Intuitive and that Restore is not affiliated with Intuitive.     Restore denies the

remainder of the allegations in Paragraph 40.

      41.    Restore admits that its website has included images of the da Vinci

Surgical Systems and EndoWrist instruments. Restore admits that it has stated on

its website that the da Vinci Surgical System is marketed by Intuitive and that

Restore is not affiliated with Intuitive.    Restore denies the remainder of the

allegations in Paragraph 41.

      42.    Restore admits that some of its marketing materials have included

images of the da Vinci Surgical Systems and EndoWrist instruments. Restore admits

that some of marketing materials have stated that “Restore Robotics is not affiliated

with Intuitive Surgical, Inc.” Restore denies the remainder of the allegations in

Paragraph 42.

      43.    Restore admits that it does not remove Intuitive’s trademarks after

servicing da Vinci Surgical Systems or EndoWrist instruments. Restore admits that



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it received the cease-and-desist letter in Exhibit 3. Restore denies the remainder of

the allegations in Paragraph 43.

      C.     Denied.

      44.    Restore admits that the FDA issued guidance on deciding when to

submit a 510(k) software change to an existing device on October 25, 2017 and that

Restore knew about this guidance. Restore denies the remainder of the allegations

in Paragraph 44.

      45.    Denied.

      46.    Restore admits that the FDA empowers manufacturers and third parties

to determine, in the first instance, whether 510(k) clearance is needed and that

companies have access to guidance issued by the FDA in making that decision.

Restore denies the remainder of the allegations in Paragraph 46.

      47.    Restore admits that the FDA states in the guidance on deciding when

to submit a 510(k) software change to an existing device issued on October 25, 2017

that “For those circumstances where the proposed change is not addressed in this

guidance, in Deciding When to Submit a 510(k) for a Change to an Existing Device,

or in a device-specific guidance, manufacturers are encouraged to contact the

appropriate office in CDRH or CBER.” Restore denies the remainder of the

allegations in Paragraph 47.

      48.    Denied.
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      49.    Denied.

V.    Denied.

      50.    Restore admits that Intuitive’s Sales, License and Service Agreements

prohibit use of instruments beyond the maximum number of uses, as is specified in

the documentation accompanying the instrument. Restore denies the remainder of

the allegations in Paragraph 50.

      51.    Restore lacks knowledge or information sufficient to form a belief

about the truth of the remainder of the allegations in Paragraph 51.

      52.    Restore lacks knowledge or information sufficient to form a belief

about the truth of the remainder of the allegations in Paragraph 52.

      53.    Restore lacks knowledge or information sufficient to form a belief

about the truth of the remainder of the allegations in Paragraph 53.

      54.    Denied.

      55.    Restore admits that Restore executive Clif Parker had a telephone

conversation with Ben Lipson to ask if there was a way to remove the preventative

maintenance message from the da Vinci Surgical System for potential customers

interested in hiring Restore for robot service. Restore denies that Mr. Parker sought

to hack into Intuitive’s system, denies that any of its employees have shown a

willingness to engage in criminal behavior, and denies the remainder of the

allegations in Paragraph 55.
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VI.    Denied.

       56.   Denied.

       57.   Denied.

       58.   Denied.

       59.   Denied.

                                 COUNT ONE
                  (Federal Unfair Competition – Lanham Act)

       60.   Restore incorporates its answers to the allegations in the previous and

subsequent paragraphs of the Counterclaims.

       61.   Denied.

       62.   Denied.

       63.   Admitted.

       64.   Denied.

                                COUNT TWO
                  (Federal Unfair Competition – Lanham Act)

       65.   Restore incorporates its answers to the allegations in the previous and

subsequent paragraphs of the Counterclaims.

       66.   Denied.

       67.   Denied.

       68.   Admitted.

       69.   Denied.
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                              COUNT THREE
                       (Common Law Unfair Competition)

      70.    Restore incorporates its answers to the allegations in the previous and

subsequent paragraphs of the Counterclaims.

      71.    Restore admits it is a competitor of Intuitive. Restore denies the

remainder of the allegations in Paragraph 71.

      72.    Denied.

                            COUNT FOUR
              (Common Law Tortious Interference With Contract)

      73.    Restore incorporates its answers to the allegations in the previous and

subsequent paragraphs of the Counterclaims.

      74.    Restore lacks knowledge or information sufficient to form a belief

about the truth of the allegations that Intuitive had contractual relationships with its

customers. Restore denies the remainder of the allegations in Paragraph 74.

      75.    Denied.

      76.    Denied.

                                 COUNT FIVE
              (Florida Deceptive And Unfair Trade Practices Act –
                        Fla Stat. §§ 501.201 To 501.213)

      77.    Restore incorporates its answers to the allegations in the previous and

subsequent paragraphs of the Counterclaims.

      78.    Denied.
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       79.     Denied.

       80.     Denied.

                                 COUNT SIX
             (Computer Fraud And Abuse Act, 18 U.S.C. §§ 1030(a), (b))

       81.     Restore incorporates its answers to the allegations in the previous and

subsequent paragraphs of the Counterclaims.

       82.     Denied.

       83.     Restore lacks knowledge or information sufficient to form a belief

about the truth of the allegations in Paragraph 83.

       84.     Denied.

       85.     Denied.

       86.     Denied.

       87.     Denied.

       88.     Denied.

       89.     Denied.

                                     JURY TRIAL

       90.     Restore admits that Intuitive requests a jury trial as to all issues so

triable.

                               PRAYER FOR RELIEF

       91.     Denied.


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                            AFFIRMATIVE DEFENSES

         Restore affirmatively states the following defenses:

                         FIRST AFFIRMATIVE DEFENSE

         The Counterclaims fail to state a claim upon which relief can be granted.

                       SECOND AFFIRMATIVE DEFENSE

         The Counterclaims are barred in whole or in part by the defense of fair use.

                         THIRD AFFIRMATIVE DEFENSE

         The Counterclaims are barred in whole or in part by the doctrine of unclean

hands.

                       FOURTH AFFIRMATIVE DEFENSE

         The Counterclaims are barred in whole or in part by the illegality of

Defendant’s contracts.

                         FIFTH AFFIRMATIVE DEFENSE

         The Counterclaims are barred in whole or in part by Defendant’s restraints of

trade.

                         SIXTH AFFIRMATIVE DEFENSE

         The Counterclaims are barred in whole or in part because Defendant’s

contracts are contrary to public policy.




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                     SEVENTH AFFIRMATIVE DEFENSE

      The Counterclaims are barred in whole or in part because Restore had

justification for its actions under competitor’s privilege.

                      EIGHTH AFFIRMATIVE DEFENSE

      The Counterclaims are barred in whole or in part by Defendant’s failure to

mitigate damages.




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      Respectfully submitted on December 12, 2019.

                                        /s Jeff Berhold
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Pursuant to Local Rule 5.1(F)(1)(a), a certificate of service is not required.




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